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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )
                   Plaintiff,           )                4:10CR3129-2
                                        )
            v.                          )
                                        )
JAMES P. MASAT,                         )                JUDGMENT
                                        )
                   Defendant.           )
                                        )


       IT IS ORDERED that judgment is entered for the United States of America and
against James P. Masat providing that he shall take nothing and his Motion to Vacate
Under 28 U.S.C. § 2255 (filing no. 147) is denied and dismissed with prejudice. No
certificate of appealability will be issued by the undersigned.

      DATED this 10th day of February, 2014.

                                      BY THE COURT:

                                      Richard G. Kopf
                                      Senior United States District Judge
